       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 1 of 53



                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


COMMONWEALTH OF PENNSYLVANIA and
STATE OF NEW JERSEY,

                            Plaintiffs,

                     v.                                  No. 2:17-cv-04540-WB

DONALD J. TRUMP, in his official capacity as
President of the United States; ALEX M. AZAR II, in
his official capacity as Secretary of Health and Human
Services; UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES; STEVEN T.
MNUCHIN, in his official capacity as Secretary of the
Treasury; UNITED STATES DEPARTMENT OF THE
TREASURY; RENE ALEXANDER ACOSTA, in his
official capacity as Secretary of Labor; UNITED
STATES DEPARTMENT OF LABOR; and UNITED
STATES OF AMERICA.

                            Defendants.


    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR A
                   PRELIMINARY INJUNCTION

GURBIR S. GREWAL                              JOSH SHAPIRO
Attorney General                              Attorney General
State of New Jersey                           Commonwealth of Pennsylvania

GLENN J. MORAMARCO                            MICHAEL J. FISCHER
Assistant Attorney General                    Chief Deputy Attorney General
ELSEPTH FAIMAN HANS                           AIMEE D. THOMSON
KIMBERLY A. CAHALL                            Deputy Attorney General
Deputy Attorneys General                      Office of Attorney General
New Jersey Attorney General’s Office          1600 Arch Street
Richard J. Hughes Justice Complex             Suite 300
25 Market Street                              Philadelphia, PA 19103
Trenton, NJ 08625                             (215) 560-2171
(609) 376-3235                                mfischer@attorneygeneral.gov
Glenn.Moramarco@law.njoag.gov

December 17, 2018
            Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 2 of 53



                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
BACKGROUND ............................................................................................................................ 3
     I. The Affordable Care Act and the Contraceptive Care Mandate......................................... 4
     II. Defendants Issue the IFRs, and this Court Enters a Preliminary Injunction ...................... 7
     III. Defendant Departments Issue the Final Rules .................................................................... 9
ARGUMENT.................................................................................................................................. 9
     I. The States Will Prevail in this Litigation.......................................................................... 11
          A. The Rules Violate the Procedural Requirements of the APA..................................... 11
                1. Defendants Failed to Comply with the APA’s Notice and
                   Comment Requirements........................................................................................ 11
                2. The Rules Fail to Respond to Significant Comments and Fail to
                   Provide an Adequate Statement of Their Bases and Purposes. ............................ 15
          B. The Rules Are Arbitrary, Capricious, and Contrary to Law in Violation
             of the APA. ................................................................................................................. 17
                1. The Final Rules Violate the ACA......................................................................... 19
                2. Defendants’ Reliance on RFRA is Arbitrary, Capricious, and
                   Contrary to Law. ................................................................................................... 23
                3. Defendants Provide Arbitrary and Capricious Explanations for the
                   Final Rules. ........................................................................................................... 29
                     i. Defendants’ Reversal of Position on the Importance, Efficacy,
                        and Benefits of Contraception is Arbitrary and Capricious............................ 30
                     ii. Defendants’ Explanation of Affected Women is Arbitrary and
                         Capricious. ...................................................................................................... 35
     II. The States Will Suffer Irreparable Harm in the Absence of an Injunction....................... 38
          A. Women in Pennsylvania and New Jersey Will Lose Contraceptive
             Coverage as a Result of the Rules............................................................................... 39
          B. Women in Pennsylvania and New Jersey Will Be Forced to Rely on
             State-Funded Programs, Imposing Direct Costs on the States ................................... 40
          C. The States Will Suffer Injury to Their Interest in Protecting the Health
             and Well-Being of Their Citizens ............................................................................... 43
     III. The Public Interest and the Balance of Equities Weigh Strongly in Favor
          of an Injunction. ................................................................................................................ 45
CONCLUSION............................................................................................................................. 45




                                                                      i
            Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 3 of 53



                                                  TABLE OF AUTHORITIES

                                                                    Cases

Adams v. Freedom Forge Corp., 204 F.3d 475 (3d Cir. 2000) .................................................... 10

Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458 U.S. 607 (1982) ............................................... 43

Am. Tel. & Tel. Co. v. Winback & Conserve Program, Inc., 42 F.3d 1421 (3d Cir.
   1994) ....................................................................................................................................... 45

Ass’n of Am. Physicians & Surgeons v. Sebelius, 746 F.3d 468 (D.C. Cir. 2014) ....................... 14

Ass’n of Am. Physicians & Surgeons, Inc. v. Sebelius, 901 F. Supp. 2d 19 (D.D.C.
   2012) ....................................................................................................................................... 14

Bowen v. Massachusetts, 487 U.S. 879 (1988)............................................................................. 43

Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281 (1974) .................. 17, 35

Burwell v. Hobby Lobby Stores, 134 S. Ct. 2751 (2014)....................................................... passim

California v. Azar, No. 18-15144, 2018 WL 6566752 (9th Cir. Dec. 13, 2018)............................ 1

California v. HHS, 281 F. Supp. 3d 806 (N.D. Cal. 2017)............................................................. 1

Catholic Health Care Sys. v. Burwell, 796 F.3d 207 (2d Cir. 2015) ............................................ 26

Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402 (1971) ...................................... 15

Council of Alternative Political Parties v. Hooks, 121 F.3d 876 (3d Cir. 1997).......................... 45

E. Texas Baptist Univ. v. Burwell, 793 F.3d 449 (5th Cir. 2015) ................................................. 26

Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117 (2016) ................................................ passim

Eternal Word Television Network, Inc. v. Sec’y of U.S. Dep’t of Health & Human
   Servs., 818 F.3d 1122 (11th Cir. 2016)................................................................................... 26

FCC v. Fox Television Stations, Inc., 556 U.S. 502 (2009)................................................... passim

Feinerman v. Bernardi, 558 F. Supp. 2d 36 (D.D.C. 2008) ......................................................... 43

Geneva Coll. v. Sec’y U.S. Dep’t of Health & Human Servs., 778 F.3d 422 (3d
   Cir. 2015) .......................................................................................................................... 25, 26

Hayman Cash Register Co. v. Sarokin, 669 F.2d 162 (3d Cir. 1982)........................................... 12

In re Oxycontin Antitrust Litig., 821 F. Supp. 2d 591 (S.D.N.Y. 2011)....................................... 43

                                                                        ii
            Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 4 of 53



Issa v. Sch. Dist. of Lancaster, 847 F.3d 121 (3d Cir. 2017)........................................................ 45

Jicarilla Apache Nation v. U.S. Dept. of Interior, 613 F.3d 1112 (D.C. Cir. 2010)............... 18, 35

Kos Pharm., Inc. v. Andrx Corp., 369 F.3d 700 (3d Cir. 2004).................................................... 45

Little Sisters of the Poor Home for the Aged, Denver, Colo. v. Burwell, 794 F.3d
    1151 (10th Cir. 2015).............................................................................................................. 26

Maryland People’s Counsel v. F.E.R.C., 760 F.2d 318 (D.C. Cir. 1985) .................................... 44

Massachusetts v. E.P.A., 549 U.S. 497 (2007) ............................................................................. 44

Michigan Catholic Conference & Catholic Family Servs. v. Burwell, 755 F.3d
   372 (6th Cir. 2014).................................................................................................................. 26

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463
   U.S. 29 (1983)....................................................................................................... 17, 18, 33, 35

NRDC v. EPA, 683 F.2d 752 (3d Cir. 1982)..................................................................... 12, 13, 14

Pennsylvania v. Trump, 281 F. Supp. 3d 553 (E.D. Pa. 2018) .............................................. passim

Perez v. Mortg. Bankers Ass’n, 135 S. Ct. 1199 (2015) ......................................................... 15, 17

Priests For Life v. U.S. Dep’t of Health & Human Servs., 772 F.3d 229 (D.C. Cir.
   2014) ....................................................................................................................................... 26

Prometheus Radio Project v. FCC, 652 F.3d 431 (3d Cir. 2011).......................................... passim

Real Alternatives, Inc. v. Sec’y Dep’t of Health & Human Servs., 867 F.3d 338
   (3d Cir. 2017).............................................................................................................. 24, 26, 29

Reilly v. City of Harrisburg, 858 F.3d 173 (3d Cir. 2017) ........................................................... 10

Ricci v. DeStefano, 557 U.S. 586 (2009) ...................................................................................... 28

Sharon Steel Corp. v. EPA, 597 F.2d 377 (3d Cir. 1979)....................................................... 12, 13

Sharpe Holdings, Inc. v. U.S. Dep’t of Health & Human Servs., 801 F.3d 927 (8th
   Cir. 2015) ................................................................................................................................ 26

State v. U.S. Bureau of Land Mgmt., -- .Supp.3d. --, 2017 WL 4416409 (N.D. Cal.
    Oct. 4, 2017) ........................................................................................................................... 18

Texas v. United States, 809 F.3d 134 (5th Cir. 2015)................................................................... 44

United States v. Johnson, 529 U.S. 53 (2000) .............................................................................. 21


                                                                       iii
            Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 5 of 53



United States v. Nova Scotia Food Prod. Corp., 568 F.2d 240 (2d Cir. 1977) ...................... 15, 17

United States v. Reynolds, 710 F.3d 498 (3d Cir. 2013)......................................................... 12, 14

United States v. State of New York, 708 F.2d 92 (2d Cir.1983).................................................... 43

Univ. of Notre Dame v. Burwell, 786 F.3d 606 (7th Cir. 2015) ................................................... 26

Valley Forge Christian College v. Americans United for Separation of Church
   and State, Inc., 454 U.S. 464 (1982)....................................................................................... 44

Zubik v. Burwell, 136 S. Ct. 1557 (2016) .............................................................................. passim

                                                                 Statutes

29 U.S.C. § 1144(a) ................................................................................................................ 27, 44

42 U.S.C. § 18114................................................................................................................... 19, 22

42 U.S.C. § 18116................................................................................................................... 19, 23

Religious Freedom Restoration Act, 42 U.S.C. §§ 2000bb, et seq................................................. 6

     42 U.S.C. § 2000bb-1(a) ......................................................................................................... 24

     42 U.S.C. § 2000bb-1(b)................................................................................................... 24, 29

42 U.S.C. § 300gg-13(a)(4) ................................................................................................... passim

5 U.S.C. § 553(b) .......................................................................................................................... 11

5 U.S.C. § 553(b)(3)(B) ................................................................................................................ 11

5 U.S.C. § 553(c) .................................................................................................................... 11, 15

5 U.S.C. § 706(2)(A).............................................................................................................. passim

5 U.S.C. § 706(2)(C)............................................................................................................... 18, 38

5 U.S.C. § 706(2)(D)................................................................................................... 11, 14, 17, 37

                                                              Regulations

Certain Preventive Services Under the Affordable Care Act, 77 Fed. Reg. 16,501
   (Mar. 21, 2012) ................................................................................................................. 30, 31

Coverage of Certain Preventive Services Under the Affordable Care Act, 78 Fed.
   Reg. 39,870 (July 2, 2013)...................................................................................... 6, 25, 30, 31


                                                                      iv
            Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 6 of 53



Coverage of Certain Preventive Services Under the Affordable Care Act, 78 Fed.
   Reg. 8456 (Feb. 6, 2013) ........................................................................................................ 30

Coverage of Certain Preventive Services Under the Affordable Care Act, 80 Fed.
   Reg. 41,318 (July 14, 2015)...................................................................................................... 6

Group Health Plans and Health Insurance Issuers Relating to Coverage of
   Preventive Services Under the Patient Protection and Affordable Care Act, 76
   Fed. Reg. 46,621 (Aug. 3, 2011)................................................................................... 5, 30, 31

Group Health Plans and Health Insurance Issuers Relating to Coverage of
   Preventive Services Under the Patient Protection and Affordable Care Act, 77
   Fed. Reg. 8725 (Feb. 15, 2012) .................................................................................... 5, 30, 31

Moral Exemptions and Accommodations for Coverage of Certain Preventive
  Services Under the Affordable Care Act, 82 Fed. Reg. 47,838 (Oct. 13, 2017)....................... 7

Moral Exemptions and Accommodations for Coverage of Certain Preventive
  Services Under the Affordable Care Act, 83 Fed. Reg. 57,592 (Nov. 15, 2018)............. passim

Religious Exemptions and Accommodations for Coverage of Certain Preventive
    Services Under the Affordable Care Act, 82 Fed. Reg. 47,792 (Oct. 13, 2017).............. passim

Religious Exemptions and Accommodations for Coverage of Certain Preventive
    Services Under the Affordable Care Act, 83 Fed. Reg. 57,536 (Nov. 15, 2018)............. passim

                                                          Other Authorities

155 Cong. Rec. S11987 (Nov. 30, 2009) (statement of Sen. Barbara Mikulski) ..................... 4, 21

155 Cong. Rec. S11988 (Nov. 30, 2009) (statement of Sen. Barbara Mikulski) ......................... 21

155 Cong. Rec. S12058–59 (Dec. 1, 2009) (statement of Sen. Benjamin Cardin)......................... 4

Comment Letter on Interim Final Rules: Religious Exemptions and
  Accommodations for Coverage of Certain Preventive Services under the
  Affordable Care Act, and Moral Exemptions and Accommodations for
  Coverage of Certain Preventive Services under the Affordable Care Act (Dec.
  5, 2017) ................................................................................................................................... 16

Commission Decision on Coverage of Contraception, EEOC, 2000 WL 33407187
  (Dec. 14, 2000) ....................................................................................................................... 23

Department of Labor, FAQs about Affordable Care Act Implementation Part 36
   (Jan. 9, 2017)........................................................................................................... 7, 24, 29, 31

Exec. Order No. 13798, “Promoting Free Speech and Religious Liberty” (May 4,
   2017), 82 Fed. Reg. 21,675....................................................................................................... 7

                                                                       v
            Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 7 of 53



HHS, Introduction: About HHS (Feb. 28, 2018) .......................................................................... 17

HRSA, Women’s Preventive Service Guidelines (2011) .................................................... 5, 20, 31

HRSA, Women’s Preventive Service Guidelines (2016) .................................................... 5, 20, 31

Institute of Medicine, Clinical Preventive Services for Women: Closing the Gaps
    (2011)............................................................................................................................ 5, 20, 31

S. Amdt. 1520, 112th Congress (2011-2012) ............................................................................... 21




                                                                      vi
           Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 8 of 53



                                          INTRODUCTION

       One year ago, this Court ruled that the federal Defendants in this action had violated the

law in issuing sweeping new exemption rules that would deny women across the country access

to legally protected preventive healthcare.1 The Court found that the government had failed to

follow the legal requirements of the Administrative Procedure Act in issuing the rules and had

violated the clear mandate of the Affordable Care Act by allowing employers and other health

plan sponsors to deny women access to contraception without imposing additional costs.2 It

further found that the rules would cause “serious and irreparable harm” to the Commonwealth of

Pennsylvania and, as a result, issued a preliminary injunction preventing their further

implementation.3 Several days after this Court acted, a judge hearing a similar challenge to the

rules entered a second injunction blocking them, agreeing with this Court that they were issued

in violation of the APA.4 That finding was recently affirmed.5

       Rather than heed the direction of two federal courts, the federal Defendants chose simply

to try again. Thirteen months after announcing the rules that this Court had enjoined, they issued

final rules that, they claimed, reflected comments received in the interim.6 But despite the



       1
         See Opinion, ECF No. 59, Pennsylvania v. Trump, No. 17-4540, 281 F. Supp. 3d 553
(E.D. Pa. 2018) (“PI Op.”). Specifically, the Court found that the Commonwealth was “likely to
succeed” on its claims that the federal Defendants had violated the law. 281 F. Supp. 3d at 585.
       2
           281 F. Supp. 3d at 576, 581.
       3
           281 F. Supp. 3d at 585.
       4
           California v. HHS, 281 F. Supp. 3d 806 (N.D. Cal. 2017).
       5
           California v. Azar, No. 18-15144, 2018 WL 6566752 (9th Cir. Dec. 13, 2018).
       6
         Religious Exemptions and Accommodations for Coverage of Certain Preventive
Services Under the Affordable Care Act, 83 Fed. Reg. 57,536 (Nov. 15, 2018) (the “final
Religious Exemption Rule”) (Exh. A); Moral Exemptions and Accommodations for Coverage of
Certain Preventive Services Under the Affordable Care Act, 83 Fed. Reg. 57,592 (Nov. 15,
2018) (the “final Moral Exemption Rule”) (Exh. B) (together, the “final Rules”).

                                                 1
             Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 9 of 53



passage of time since this Court’s previous decision, nothing in the final rules suggested that

Defendants had seriously tried to address the deficiencies identified by this Court. They did not,

for instance, withdraw the interim rules and engage in notice and comment rulemaking with

respect to the final rules, as required by the APA. They did not strive to find a way to

accommodate the religious beliefs of objectors while “ensuring that women . . . receive full and

equal health coverage, including contraceptive coverage,” as the Supreme Court had instructed.

Zubik v. Burwell, 136 S. Ct. 1557, 1560 (2016) (citation and internal quotation marks omitted).

And they did not grapple with the “serious and irreparable harm” that would be caused by the

rules, not merely to the Commonwealth and its residents, but to women across the country.

         Instead, the federal Defendants compounded their previous mistakes. They exempted

more employers from the contraceptive mandate, thus ensuring that more women would lose

access to essential preventive healthcare. They blithely dismissed the many serious concerns that

had been raised in comments submitted on the interim rules, including comments submitted by

women, medical professionals, and experts on contraception. They did, however, acknowledge

one serious error in the interim rules: they admitted that their estimate that the rules would

impact at least 31,700 women was wrong; instead, the correct minimum number was closer to

70,500. Compare 83 Fed. Reg. at 57,578, with 82 Fed. Reg. at 47,821. After accusing

Pennsylvania of engaging in “pure speculation” for alleging that women would be harmed by the

rules and that government-funded programs would be burdened as a result,7 they now concede

that their own prior estimates misjudged the harm they would cause by a factor of two. Rather

than acknowledging that this error was the inevitable result of a rushed and haphazard process



         7
             See Defs.’ Mem. in Opp. to Pls.’ Mot. for Prelim. Inj., ECF No. 15, at 15 (Nov. 16,
2017).

                                                    2
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 10 of 53



driven by political considerations, they instead decided to press ahead—and as a result, their new

estimates instill little additional confidence that they have come to grips with the true scope of

harm the rules will cause.

       Unchanged throughout this process is the truth that, for women, contraception is

necessary preventive healthcare. Contraception is necessary for women to be able to aspire,

achieve, participate in and contribute to society based on their individual talents and capabilities.

Indeed, in order to have equal opportunities at work, at school, and in the public sphere, women

need to be able to control when and if they become mothers. For many, contraception is an

economic lifeline. For some, it is lifesaving medicine. And under the Affordable Care Act, it is a

legal obligation. Defendants continue to callously disregard this obligation, and women in

Pennsylvania and New Jersey—and across the country—will suffer serious consequences as a

result. Those consequences will cause harm to not just the women affected, but their families,

their communities, and to state taxpayers who will bear the burden of providing the essential care

that these women no longer receive from their employers or schools.

       Because the federal Defendants still do not grasp these basic facts, the Commonwealth of

Pennsylvania and the State of New Jersey respectfully request that this Court enter an injunction

preventing the implementation of the final rules.

                                         BACKGROUND

       The factual and legal background of this case is set forth in the Court’s earlier opinion

and in the previous motion for a preliminary injunction filed on November 2, 2017. See Mem. of

Law in Supp. of Pl.’s Mot. for Prelim. Inj., ECF No. 8-2 (“First PI Mot.”) (Exh. E). Pennsylvania

and New Jersey incorporate by reference the discussion and arguments made in that earlier

motion, which is attached as an exhibit for the Court’s convenience. This memorandum



                                                  3
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 11 of 53



summarizes these earlier arguments but primarily focuses on subsequent developments in this

case since the issuance of the earlier interim rules and on the new legal issues presented by the

final rules.

  I.    The Affordable Care Act and the Contraceptive Care Mandate

        The Women’s Health Amendment to the Affordable Care Act requires that group health

plans and insurance issuers offering group or individual coverage must cover and “not impose

any cost sharing requirements for . . . with respect to women, such additional preventive care and

screenings . . . as provided for in comprehensive guidelines supported by the Health Resources

and Services Administration.” 42 U.S.C. § 300gg-13(a)(4); PI Op., 281 F. Supp. 3d at 561. The

amendment was intended to “enhance and improve women’s health care” by “extend[ing] the

preventive services covered by the bill to those evidence-based services for women that are

recommended by the Health Resources and Services Administration.” 155 Cong. Rec. S11987

(Nov. 30, 2009) (statement of Sen. Barbara Mikulski); id. at S12058–59 (Dec. 1, 2009)

(statement of Sen. Benjamin Cardin).

        Congress did not dictate which preventive services were to be covered, but instead

delegated that task to the Health Resources and Services Administration (HRSA), a component

of Defendant HHS whose mission is to “improve health and achieve health equity through access

to quality services, a skilled health workforce and innovative programs.”8 HRSA, in turn,

commissioned the then-named Institute of Medicine (IOM) to make recommendations for

appropriate preventive services to include.9 PI Op., 281 F. Supp. 3d at 561. IOM convened a




        8
            About HRSA (May 2018), https://www.hrsa.gov/about/index.html.
        9
            IOM was renamed the National Academy of Medicine in 2015.

                                                 4
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 12 of 53



panel of sixteen experts, including specialists in disease prevention, women’s health issues,

adolescent health issues, and evidence-based guidelines. Id.

       The panel convened by IOM issued a comprehensive report that issued recommendations

as to “services and screenings that could fill the identified gaps in women’s preventive care.”

Institute of Medicine, Clinical Preventive Services for Women: Closing the Gaps 157 (2011) (the

“IOM Report”) (Exh. F). Relying on recommendations from the American Academy of

Pediatrics, the Society of Adolescent Medicine, the American Medical Association, the

American Public Health Association, and the Association of Women’s Health, Obstetric and

Neonatal Nurses, the Committee recommended that HRSA’s guidelines require coverage for “the

full range of Food and Drug Administration-approved contraceptive methods, sterilization

procedures, and patient education and counseling for women with reproductive capacity.” Id. at

109–10. HRSA adopted the Committee’s recommendations, including the recommendation to

require coverage for contraceptive services and counseling (the “Contraceptive Care Mandate”).

See PI Op., 281 F. Supp. 3d at 561; HRSA, Women’s Preventive Service Guidelines (2011) (Exh.

G) (the “2011 Guidelines”).10

       The implementing agencies attempted to accommodate plan sponsors with religious

objections to certain forms of contraception. They did so in two ways. First, they exempted

churches and closely related entities from the mandate in its entirety.11 Second, they created a



       10
         The Guidelines were updated in 2016, but continued to identify contraception as
covered preventive care. See HRSA, Women’s Preventive Service Guidelines (2016) (Exh. H)
(the “2016 Guidelines”).
       11
          See Group Health Plans and Health Insurance Issuers Relating to Coverage of
Preventive Services Under the Patient Protection and Affordable Care Act, 76 Fed. Reg. 46,621
(Aug. 3, 2011); Group Health Plans and Health Insurance Issuers Relating to Coverage of
Preventive Services Under the Patient Protection and Affordable Care Act, 77 Fed. Reg. 8725
(Feb. 15, 2012). The definition of “religious employer” for purposes of the exemption was
                                                 5
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 13 of 53



separate “accommodation” process that allowed certain non-profit organizations that did not

qualify for the exemption to nonetheless provide notice of their religious objections to providing

contraception and shift the burden for complying with the mandate to their insurance carrier or

third-party administrator.12 As a result, individuals covered by plans that utilized the

accommodation still received contraceptive coverage, whereas those employed by plans that

were permitted to and did take advantage of the exemption did not.

       Despite these efforts, several employers and educational institutions filed lawsuits

challenging the mandate in various ways. The litigation culminated in two decisions by the

Supreme Court. In Burwell v. Hobby Lobby Stores, 134 S. Ct. 2751 (2014), the Court held that

the government violated the Religious Freedom Restoration Act, 42 U.S.C. §§ 2000bb et. seq.

(RFRA), by requiring a closely held for-profit company to comply with the mandate while

denying it the option of utilizing the accommodation. As a result, the agencies expanded the

scope of the accommodation to include closely held for-profit companies. See Coverage of

Certain Preventive Services Under the Affordable Care Act, 80 Fed. Reg. 41,318 (July 14, 2015).

Then, in Zubik v. Burwell, 136 S. Ct. 1557 (2016), the Court addressed a RFRA challenge to the

accommodation itself. The Court ultimately sidestepped the issue, instead remanding to the

courts of appeals to give the parties “an opportunity to arrive at an approach going forward that

accommodates petitioners’ religious exercise while at the same time ensuring that women

covered by petitioners’ health plans ‘receive full and equal health coverage, including

contraceptive coverage.’” Id. at 1560 (quoting Supp. Br. for Resps. at 1). However, in early



modified slightly in a subsequent regulation. See Coverage of Certain Preventive Services Under
the Affordable Care Act, 78 Fed. Reg. 39,870 (July 2, 2013).
       12
         See Coverage of Certain Preventive Services Under the Affordable Care Act, 78 Fed.
Reg. 39,870 (2013).

                                                  6
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 14 of 53



2017, the Labor Department announced that “no feasible approach has been identified . . . that

would resolve the concerns of religious objectors, while still ensuring that the affected women

receive full and equal health coverage, including contraceptive coverage.”13



 II.   Defendants Issue the IFRs, and this Court Enters a Preliminary Injunction

       On May 4, 2017, President Donald Trump issued an Executive Order directing the

agency Defendants to “consider issuing amended regulations” to address “conscience-based

objections to the preventive-care mandate promulgated under section 300gg-13(a)(4) of Title 42,

United States Code,” the Women’s Health Amendment. President Donald Trump, Exec. Order

No. 13798, “Promoting Free Speech and Religious Liberty” § 3 (May 4, 2017), 82 Fed. Reg.

21,675 (Exh. I). The order said nothing about the Supreme Court’s instruction that the agencies

ensure that women covered by health plans offered by objecting entities “receive full and equal

health coverage, including contraceptive coverage.” Zubik, 136 S. Ct. at 1560 (citation omitted).

       Following the issuance of the Executive Order, the Defendant agencies issued two

Interim Final Rules (IFRs).14 The IFRs significantly expanded the scope of the existing

exemption and accommodation. Among other changes, the Religious IFR allowed any entity—

including a publicly traded corporation—to opt out of the Contraceptive Care Mandate on the

basis of a religious objection. In addition, the agencies allowed, for the first time, entities with



       13
          Dep’t of Labor, FAQs about Affordable Care Act Implementation Part 36 (Jan. 9,
2017), https://www.dol.gov/sites/default/files/ebsa/about-ebsa/our-activities/resource-
center/faqs/aca-part-36.pdf (the “2017 FAQs”).
       14
         Religious Exemptions and Accommodations for Coverage of Certain Preventive
Services Under the Affordable Care Act, 82 Fed. Reg. 47,792 (Oct. 13, 2017) (Exh. C) (the
“Religious Exemption IFR”); Moral Exemptions and Accommodations for Coverage of Certain
Preventive Services Under the Affordable Care Act, 82 Fed. Reg. 47,838 (Oct. 13, 2017) (Exh.
D) (the “Moral Exemption IFR”) (together, “the IFRs”).

                                                   7
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 15 of 53



moral objections to contraception to opt out of the mandate. Moreover, the IFRs rendered the

accommodation process purely optional—thus eliminating the assurance that women who were

insured by organizations that utilized the accommodation would still receive contraceptive

coverage. The IFRs were issued without any prior notice or an opportunity for comment, and

they went into effect immediately.

       On October 11, 2017, the Commonwealth of Pennsylvania filed suit in this matter

alleging that the IFRs were unlawful. ECF No. 1. It alleged that the IFRs violated numerous

statutory and constitutional provisions, including the Administrative Procedure Act, the

Affordable Care Act, Title VII of the Civil Rights Act on 1964, the equal protection guarantee of

the Fifth Amendment to the Constitution, and the Establishment Clause of the First Amendment.

Id. ¶¶ 141-176. The Commonwealth moved for a preliminary injunction and, following a

hearing, this Court granted the Commonwealth’s motion and prohibited enforcement of the IFRs.

ECF No. 60 (Dec. 15, 2017).

       This Court concluded that the Commonwealth had satisfied all of the necessary

requirements for the issuance of a preliminary injunction: it was likely to succeed on the merits

of its claims that the IFRs violated the procedural and substantive requirements of the

Administrative Procedure Act, PI Op., 281 F. Supp. 3d at 570-81; it would suffer irreparable

harm in the absence of an injunction, id. at 581-84; the balance of equities favored the issuance

of an injunction, id. at 584-85; and an injunction was in the public interest, id. at 585. On the

merits, the Court found that Defendants had neither express statutory authority nor “good cause”

to forego notice and comment rulemaking in issuing the IFRs. Id. at 570-76. In addition, the

Court found that the IFRs were “arbitrary, capricious, and contrary to established law” because

they were inconsistent with the ACA and not justified by the Religious Freedom Restoration Act



                                                  8
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 16 of 53



(RFRA). Id. at 576-81. The Court also rejected Defendants’ argument that the Commonwealth

lacked standing. Id. at 564-69.

III.   Defendant Departments Issue the Final Rules

       On November 7, 2018, while the appeal of the preliminary injunction was pending before

the U.S. Court of Appeals for the Third Circuit, the Defendant Departments issued two new rules

that “finalize” the IFRs “with changes based on public comments.” Like the Religious

Exemption IFR, the Final Religious Exemption Rule allows any plan sponsor—including a large,

publicly traded company—to opt out of the Contraceptive Care Mandate on the basis of

“sincerely held religious beliefs.” 83 Fed. Reg. at 57,537. Like the Moral Exemption IFR, the

Final Moral Exemption Rule allows any plan sponsor, with the exception of publicly traded

companies, to opt out of the Contraceptive Care Mandate on the basis of “sincerely held moral

convictions.” 83 Fed. Reg. at 57,593. And both rules, like their predecessors, render the

accommodation process wholly optional. 83 Fed. Reg. at 57,537; id. at 57,593

       There are some differences, however. In fact, the final Religious Exemption Rule goes

further than the Religious IFR by allowing any employer—even one without a sincerely held

religious objection to contraception—to disregard the Contraceptive Care Mandate by adopting a

group health plan “established or maintained” by an objecting organization. 83 Fed. Reg. at

57,560, 57,563–64. In addition, both final rules allow an entity to claim the exemption if it

objects not merely to providing contraceptive coverage itself, but to “arranging for . . . [a] plan,

issuer, or third party administrator that provides or arranges such coverage of payments.” 83 Fed.

Reg. at 57,537; id. at 57,593.

                                           ARGUMENT

       In the Third Circuit, a party seeking a preliminary injunction must first satisfy two

“gateway” factors: “that it can win on the merits” and “that it is more likely than not to suffer
                                                  9
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 17 of 53



irreparable harm in the absence of preliminary relief.” Reilly v. City of Harrisburg, 858 F.3d 173,

179 (3d Cir. 2017). Satisfying the first requirement “requires a showing significantly better than

negligible but not necessarily more likely than not” that the movant can prevail. Id. Here, the

States have a strong likelihood of prevailing on several of its claims, any one of which is

sufficient to require that the Rules be struck down. To satisfy the irreparable harm requirement, a

plaintiff must demonstrate “a significant risk that he or she will experience harm that cannot

adequately be compensated after the fact by monetary damages.” Adams v. Freedom Forge

Corp., 204 F.3d 475, 484–85 (3d Cir. 2000). The States also satisfy this requirement: if the Rules

are not struck down, they will suffer direct proprietary harm as well as harm to their quasi-

sovereign interests. These damages cannot be remedied after the fact.

       Once a movant has satisfied these “gateway” factors, a court should then consider the

possibility of harm to other interested persons and any public interest, balancing both these and

the gateway factors in deciding whether preliminary injunctive relief is appropriate. Reilly, 858

F.3d at 176, 179. Here, these factors tip strongly in favor of the States. If the Rules remain in

effect, substantial harm will result to women and families. If they are enjoined, the Defendants

and others will be in no different position than they were before the rules were issued. The public

interest, particularly the strong interest in promoting access to necessary preventive medicine,

would be best served by granting the States’ Motion.




                                                 10
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 18 of 53



  I.    The States Will Prevail in this Litigation

        The Rules violate the procedural and substantive requirements of the Administrative

Procedure Act (APA), as well as the Affordable Care Act (ACA).15 For these reasons, the States

will prevail in this litigation.

        A. The Rules Violate the Procedural Requirements of the APA

                1. Defendants Failed to Comply with the APA’s Notice and Comment
                   Requirements

        The APA sets forth clear requirements that an agency must follow in issuing a new rule.

It first must publish a “[g]eneral notice of proposed rule making” in the Federal Register.

5 U.S.C. § 553(b). That notice “shall include (1) a statement of the time, place, and nature of

public rule making proceedings; (2) reference to the legal authority under which the rule is

proposed; and (3) either the terms or substance of the proposed rule or a description of the

subjects and issues involved.” Id. Then, the agency “shall give interested persons an opportunity

to participate in the rule making through submission of written data, views, or arguments with or

without opportunity for oral presentation.” Id. § 553(c). And “[a]fter consideration of the

relevant matter presented,” the agency “shall incorporate” within the adopted rule a “concise

general statement of their basis and purpose.” Id. An agency can avoid notice and comment only

if, “for good cause,” it finds the otherwise required procedures are “impracticable, unnecessary,

or contrary to the public interest” and it “incorporates its reasoning into the Rules.” Id.

§ 553(b)(3)(B). Rules issued without following APA procedures must be held “unlawful and set

aside.” 5 U.S.C. § 706(2)(D).




        15
          In this memorandum, the States explain the reasons why the final Rules violate the
APA. They incorporate by reference the arguments in the earlier motion relating to their other
counts. See First PI Mot. (Exh. E) at 28–37.

                                                 11
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 19 of 53



       Defendants indisputably issued the IFRs without first conducting notice and comment. As

this Court found, they lacked independent statutory authority to do so. PI Op., 281 F. Supp. 3d at

571–72 (rejecting claim that 29 U.S.C. § 1191c, 26 U.S.C. § 9833, and 42 U.S.C. § 300gg-92

gave Defendants authority to issue the religious and moral exemptions as interim final rules).

The Court also found that the Defendants lacked good cause to avoid the rulemaking process. Id.

at 572–76. Both conclusions were correct—and Defendants cannot relitigate them in this

proceeding. Hayman Cash Register Co. v. Sarokin, 669 F.2d 162, 165 (3d Cir. 1982) (“Under the

law of the case doctrine, once an issue is decided, it will not be relitigated in the same case,

except in unusual circumstances.”).

       Instead, Defendants claim that their subsequent review of comments cures the final Rules

of any latent procedural defect. 83 Fed. Reg. at 57,552; 83 Fed. Reg. at 57,609. Not so. The

“provision of post-promulgation notice and comment procedures cannot cure the failure to

provide such procedures prior to the promulgation of the rule at issue.” NRDC v. EPA, 683 F.2d

752, 768 (3d Cir. 1982); accord Sharon Steel Corp. v. EPA, 597 F.2d 377, 381 (3d Cir. 1979);

see also United States v. Reynolds, 710 F.3d 498, 519 (3d Cir. 2013).

       In NRDC v. EPA, the Third Circuit found that the agency violated the APA when it took

regulatory action that did not allow for public comment, and that this initial defect fatally

infected later rules issued after notice and comment. 683 F.2d at 767–69. There, the EPA had

promulgated a number of final amendments with an effective date of March 30, 1981. Id. at 755.

Just prior to the effective date, the EPA summarily issued an order—which the Third Circuit held

to be a “rule”—that indefinitely postponed the effective date of all the final amendments. Id. at

760–61. Several months later, the EPA issued an NPRM seeking public comment on further

postponement of the effective date. Id. at 757. The EPA subsequently issued a final rule that



                                                 12
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 20 of 53



made some of the amendments effective as of January 31, 1982, and further postponed others. Id.

at 757. The EPA argued that the final postponement rule, taken after public comment, cured the

procedural defect in the initial postponement order. Id. at 767.

       The Third Circuit disagreed, holding that all amendments became effective as of March

30, 1981. Id. at 768. It observed, first, the agency’s abrupt change in position—effectively

repealing the final amendments, albeit temporarily, id. at 763—”constitute[d] a danger signal.”

Id. at 760–61. Coupled with the absence of notice and comment, the court had to “scrutinize that

action all the more closely to insure that the APA was not violated.” Id. And, second, it found

that, if “a period for comments after issuance of a rule could cure a violation of the APA’s

requirements, an agency could negate at will the Congressional decision that notice and an

opportunity for comment must precede promulgation.” Id. at 767–68 (quoting Sharon Steel, 597

F.2d at 381). Congress mandated notice and comment prior to final rule promulgation to “allow[]

effective participation in the rulemaking process while the decisionmaker is still receptive to

information and argument.” Id. at 768 (quoting Sharon Steel, 597 F.2d at 381). Comments filed

after the agency had issued a final rule, however, required a commenter to “come hat-in-hand

and run the risk that the decisionmaker is likely to resist change.” Id. (quoting Sharon Steel, 597

F.2d at 381).

       Critical here, the Third Circuit concluded that the subsequent NPRM and final

postponement rule were fatally infected with the same procedural defect. Id. at 768. But for the

improper initial order, the amendments would have gone into effect on March 30, 1981, and “the

question to be decided in the rulemaking would have been whether the amendments, which had

been in effect for some time, should be suspended, and not whether they should be further

postponed.” Id. Therefore, the only remedy was to hold that all amendments went into effect as



                                                13
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 21 of 53



of March 30, 1981. To hold otherwise “would allow EPA to substitute post-promulgation notice

and comment procedures for pre-promulgation notice and comment procedures at any time by

taking an action without complying with the APA, and then establishing a notice and comment

procedure on the question of whether that action should be continued.” Id.

       The same reasoning controls here. Had the Defendants not improperly issued interim

final rules with immediate effect, “the question to be decided in the rulemaking” would have

been whether the agencies should create new religious and moral exemptions, not whether they

should be amended. See id. However, as a result of the procedural violation, commenters—

including the Commonwealth—came to the Defendants “hat-in-hand” with the risk that the

agencies were “likely to resist change.” Id. This contravenes “the very purpose of notice and

comment,” which is “for agencies to ‘maintain a flexible and open-minded attitude towards its

[sic] own rules.’” Reynolds, 710 F.3d at 511 (quoting Prometheus Radio Project v. FCC, 652

F.3d 431, 449 (3d Cir. 2011)).16

       As in NRDC, the remedy for an APA procedural violation must place the States “in the

positions they would have been in if the APA had not been violated.” NRDC, 637 F.2d at 768.

There, this required backdating the effective date of the amendments. Here, it simply requires

enjoining the final Rules. See 5 U.S.C. § 706(2)(D).



       16
           Ass’n of Am. Physicians & Surgeons v. Sebelius, 746 F.3d 468, 472 (D.C. Cir. 2014), is
not to the contrary. There, plaintiffs initially challenged interim final rules on procedural
grounds, but the district court found that the defendant agencies had good cause to bypass notice-
and-comment rulemaking. Ass’n of Am. Physicians & Surgeons, Inc. v. Sebelius, 901 F. Supp. 2d
19, 45–46 (D.D.C. 2012). During the pendency of the litigation, the defendant agencies issued
final rules that superseded the interim final rules. Ass’n of Am. Physicians & Surgeons, 746 F.3d
at 472. On appeal, the plaintiffs continued to attack the interim final rules on procedural grounds.
Id. The D.C. Circuit properly rejected that claim as moot. Id. By contrast, the States here
challenge the procedural validity of the final Rules, based on this Court’s prior finding that the
IFRs were issued in violation of the APA.

                                                14
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 22 of 53



               2. The Rules Fail to Respond to Significant Comments and Fail to Provide
                  an Adequate Statement of Their Bases and Purposes.

       That the Defendants accepted public comment prior to issuing the Rules only subjects

them to additional APA obligations—obligations they failed to satisfy. The APA requires federal

agencies to “consider and respond to significant comments received during the period for public

comment” and provide a statement of the “basis and purpose” of each final rule. Perez v. Mortg.

Bankers Ass’n, 135 S. Ct. 1199, 1203 (2015) (citing 5 U.S.C. § 553(c); Citizens to Preserve

Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971)). In this statement, the agency must

answer all “vital questions[] raised by comments which are of cogent materiality.” United States

v. Nova Scotia Food Prod. Corp., 568 F.2d 240, 252 (2d Cir. 1977). The agency has an

independent “obligation to remain open-minded about the issues raised and engage with the

substantive responses submitted.” Prometheus Radio Project, 652 F.3d at 453 (cleaned up).

       Although Defendants have not yet produced the administrative record, the Rules

themselves make clear they failed to respond adequately to comments. For example, Defendants

fail to seriously address the many comments they received discussing the scientific and other

evidence of the harms to the health and economic security of women that would result from the

Rules. See 83 Fed. Reg. 57,555–56. The Defendants assert that some commenters expressed

concerns about these harms, while others disputed them. Id. They throw their hands up in the

face of these conflicting comments and argue that “it is not clear that merely expanding

exemptions as done in these rules will have a significant effect on contraceptive use and health,

or workplace equality, for the vast majority of women benefitting from the Mandate.” Id. at

57,556. But of course a serious health detriment that is imposed on less than “the vast majority of

women” is a cognizable and important harm that must be taken into account. “Without taking a

definitive position on those evidentiary issues” the Defendants nevertheless “conclude that the


                                                15
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 23 of 53



expanded exemptions are an appropriate policy choice left to the agencies under the relevant

statutes.” Id. This is far from the reasoned analysis demanded by the APA.

        In other places, Defendants utterly fail to engage with the substance of the commenters.

In response to comments that the broad religious and moral exemptions will cause women to lose

contraceptive coverage, 83 Fed. Reg. at 57,548–49—a fact admitted by both the IFRs and the

final Rules, e.g., id. at 57,581; 82 Fed. Reg. at 47,823—the Defendants blithely note that “the

final rules do not create a governmental burden; rather, they relieve a governmental burden.” 83

Fed. Reg. at 57,549. In response to comments that the exemptions violate ACA prohibitions on

regulations that create barriers to medical care, id. at 57,551–52; see also infra Part I.B.1, the

Defendants assert that “the decision not to impose a governmental mandate is not the ‘creation’

of a ‘barrier,’ especially when that mandate requires private citizens to provide services to other

private citizens.” Id. at 57,552.

        In addition, the Commonwealth, along with 15 other states and the District of Columbia,

submitted comments to Defendants about the IFRs.17 Among other things, the states noted that

contraception is necessary because for some women, pregnancy “can be hazardous or life-

threatening to them due to a medical condition.”18 Defendants make only a passing reference to

this point—Id. at 57,553 (noting that some commenters “said that pregnancy presents various

health risks, such as blood clots, bleeding, anemia, high blood pressure, gestational diabetes,

and death”)—and then blithely decline to “take a position on the variety of empirical questions

discussed above.” Id. at 57,555. But the APA requires the Defendants to respond to comments


        17
         Comment Letter on Interim Final Rules: Religious Exemptions and Accommodations
for Coverage of Certain Preventive Services under the Affordable Care Act, and Moral
Exemptions and Accommodations for Coverage of Certain Preventive Services under the
Affordable Care Act (Dec. 5, 2017) (Exh. X).
        18
             Id. at 6.

                                                 16
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 24 of 53



pointing to these very real health risks—not least because Defendant HHS is charged with

“enhanc[ing] the health and well-being of all Americans” by “fostering sound, sustained

advances in the sciences underlying medicine, public health, and social services.”19

       To satisfy the APA, the Defendants must actually conduct notice and comment

rulemaking—which requires responding to “significant comments,” Perez, 135 S. Ct. at 1203,

engaging with all “vital questions[] raised by comments which are of cogent materiality,” Nova

Scotia, 568 F.2d 240, 252 (2d Cir. 1977). Having failed to do so, Defendants have violated the

APA’s procedural requirements. 5 U.S.C. § 706(2)(D).

       B. The Rules Are Arbitrary, Capricious, and Contrary to Law in Violation of the
          APA.

       Not only did the Defendants disregard the APA’s procedural requirements, but the Rules

themselves are substantively defective. “At a minimum, in adopting or modifying its rules,” an

agency must “‘examine the relevant data and articulate a satisfactory explanation for its action,

including a rational connection between the facts found and the choice made.’” Prometheus

Radio Project, 652 F.3d at 469 (quoting Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)); accord Bowman Transp., Inc. v. Arkansas-Best

Freight Sys., Inc., 419 U.S. 281, 285 (1974). Consequentially, agency action is arbitrary and

capricious if it “fail[s] to provide even that minimal level of analysis.” Encino Motorcars, LLC v.

Navarro, 136 S. Ct. 2117, 2125 (2016). Agency action is also arbitrary and capricious if “the

agency has relied on factors which Congress has not intended it to consider, entirely failed to

consider an important aspect of the problem, offered an explanation for its decision that runs

counter to the evidence before the agency, or is so implausible that it could not be ascribed to a


       19
          HHS, Introduction: About HHS (Feb. 28, 2018) https://www.hhs.gov/about/strategic-
plan/introduction/index.html.

                                                17
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 25 of 53



difference in view or the product of agency expertise.” State Farm, 463 U.S. at 43. “[A]n

agency’s action must be upheld, if at all, on the basis articulated by the agency itself.” Id. at 50.

       Agencies are “free to change their existing policies,” Navarro, 136 S. Ct. at 2125, but

they must always provide a “reasoned explanation” and “show that there are good reasons for the

new policy.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009). An agency must

also provide “a more detailed justification” for certain policy changes, such as when “its new

policy rests upon factual findings that contradict those which underlay its prior policy,” or when

“its prior policy has engendered serious reliance interests.” Id. Simply demonstrating awareness

of its change in policy is insufficient if the agency provides an insufficiently reasoned

explanation for “why it deemed it necessary to overrule its previous position.” Navarro, 136 S.

Ct. at 2126. “[A]n agency that neglects to do so acts arbitrarily and capriciously.” Jicarilla

Apache Nation v. U.S. Dept. of Interior, 613 F.3d 1112, 1119 (D.C. Cir. 2010).

       A change in administration does not authorize an unreasoned reversal of course. See State

Farm, 463 U.S. at 48–51. “New presidential administrations are entitled to change policy

positions, but to meet the requirements of the APA, they must give reasoned explanations for

those changes and address the prior factual findings underpinning a prior regulatory regime.”

State v. U.S. Bureau of Land Mgmt., -- .Supp.3d. --, 2017 WL 4416409, at *11 (N.D. Cal. Oct. 4,

2017) (cleaned up).

       Under the APA, a reviewing court “shall . . . hold unlawful and set aside” any agency

action that is “in excess of statutory jurisdiction,” “arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law.” See 5 U.S.C. § 706(2)(A), (C). Here, the final Rules

violate the Women’s Health Amendment and are therefore not in accordance with law. In

addition, the final Religious Exemption Rule is not justified under RFRA, making the



                                                  18
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 26 of 53



Defendants’ reliance (and an unexplained policy reversal) arbitrary and capricious. Finally, the

Defendants provide inadequate explanations for their reversal on the importance of contraception

and for the number of women likely to be affected, failing to satisfy minimum APA

requirements.

                1. The Final Rules Violate the ACA

       As this Court recognized a year ago, the IFRs were arbitrary, capricious, and not in

accordance with law because “they contradict[ed] the text of the statute that they purport[ed] to

interpret.” PI Op., 281 F. Supp. 3d at 576–78. The final Rules suffer from the same defect. They

are contrary to the Women’s Health Amendment, which guarantees no-cost preventive care and

screenings, 42 U.S.C. § 300gg-13(a)(4); to the ACA provision prohibiting regulations that erect

barriers to an individual’s access to health care, 42 U.S.C. § 18114; and to the ACA provision

guaranteeing nondiscrimination on the basis of sex, 42 U.S.C. § 18116. As a result, they must

also be enjoined.

       The Women’s Health Amendment requires non-grandfathered group health plans and

health insurance issuers offering group or individual health insurance coverage to “provide

coverage” without “impos[ing] any cost sharing requirements” for “additional preventive care

and screenings . . . provided for in comprehensive guidelines supported by the Health Resources

and Services Administration [HRSA].” 42 U.S.C. § 300gg-13(a)(4). This requirement applies to

coverage “with respect to women.” Id. This affirmative grant does not authorize HRSA to

determine when those services can be withheld. There is nothing in the statute suggesting that

broad categories of employers, plan sponsors, issuers, or individuals can be exempt from this

statutory requirement. Defendants cite nothing to the contrary.

       Since 2011, HRSA Guidelines have listed “[c]ontraceptive methods and counseling”

among the forms of preventive care that must be provided to women without cost sharing. 2011
                                                19
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 27 of 53



Guidelines (Exh. G); 2016 Guidelines (Exh. H). The determination that contraception constitutes

appropriate preventive care for women was made after the IOM commissioned sixteen

professionals to examine the issue. IOM Report (Exh. F) at 11. One of those members, Dr. Carol

Weisman, confirmed in testimony before this Court that IOM’s conclusion is consistent with the

views of numerous professional health associations. Tr. (Exh. J) at 66.17–67.24; 68.20–69.13;

73.10-17. Even Defendants acknowledge that the Guidelines remain binding. E.g., 83 Fed. Reg.

at 57,537 (“The rules do not remove the contraceptive coverage requirement generally from

HRSA’s Guidelines.”); id. at 57,539 (“Since 2011, HRSA has exercised [its] discretion to require

coverage for, among other things, certain contraceptive services.”). Rather than amend the

Guidelines, the final Rules provide broad exceptions to HRSA’s Guidelines for “moral” and

“religious” reasons—reasons never contemplated by the ACA. The language of the Women’s

Health Amendment is mandatory: a covered plan “shall” provide coverage for preventive

services, without cost-sharing requirements.

       Nothing in the ACA’s text, legislative history, or purpose suggests that employers may

avoid their legal obligations for religious or moral reasons. The ACA sought to facilitate access

to health care, not limit it. The sole purpose of the Women’s Health Amendment was to give

women greater access to necessary preventive care and more control over their personal health

care decisions. See Hobby Lobby, 134 S. Ct. 2751, 2788–89 (2014) (Ginsberg, J., dissenting)

(explaining how the Amendment was intended to fill a gap that left out women’s preventive

services); see also id. at 2785-86 (Kennedy, J., concurring) (“It is important to confirm that a

premise of the Court’s opinion is its assumption that the HHS regulation here at issue furthers a

legitimate and compelling interest in the health of female employees.”). As the lead sponsor

explained, the Amendment is intended to “enhance and improve women’s health care.” 155



                                                 20
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 28 of 53



Cong. Rec. S11987 (Nov. 30, 2009) (statement of Sen. Barbara Mikulski). Congress achieved

this purpose by “leav[ing] the decision of which preventive services a patient will use between

the doctor and the patient.” Id. at S11988 (statement of Sen. Barbara Mikulski). This cannot be

reconciled with the effect of the final Rules which allow employers—not the doctor and the

patient—to decide what preventive services their insured employees may receive.20

       The ACA is void of any conscience clause that might authorize the broad exemptions the

Rules create.21 That should be the end of the matter. No principle of law allows an agency to

invent a statutory provision simply because similar provisions have been included in other

statutes on the same topic, or because the final Rules tangentially touch on a myriad of issues.

Even if the Guidelines impose a legally cognizable burden on certain employers, the Women’s

Health Amendment does not authorize deviation from its terms. Neither HHS, nor the

Department of the Treasury, nor the Department of Labor, nor their sub-agencies are charged in

the ACA with protecting an employer’s religious beliefs or moral convictions about

contraception. Instead, Congress’s delegation of authority was much more discrete and much

more narrow: HRSA must issue Guidelines establishing “such additional preventive care and

screenings” for women that must be provided without cost-sharing. 42 U.S.C. § 300gg-13(a)(4).


       20
           Defendants argue that the exclusion of “grandfathered” plans from the scope of the
mandate allows them to create additional broad exemptions. See, e.g., 83 Fed. Reg. at 57541. To
the contrary: “When Congress provides exceptions in a statute . . . [t]he proper inference . . . is
that Congress considered the issue of exceptions and, in the end, limited the statute to the ones
set forth.” United States v. Johnson, 529 U.S. 53, 58 (2000). Defendants cannot rely on the
existence of the exclusion for grandfathered plans to assume they are nonetheless authorized to
create additional exemptions.
       21
          The Senate even rejected a later effort to add such conscience protections to the ACA.
S. Amdt. 1520, 112th Congress (2011-2012). In arguing that such an amendment was necessary,
its sponsors fully acknowledged that the ACA did not, in fact, contain conscience protections.
Rather, they admitted that the ACA “does not allow purchasers, plan sponsors, and other
stakeholders with religious or moral objections to specific items or services to decline providing
or obtaining coverage of such items or services.” Id.

                                                21
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 29 of 53



It has done so. Those Guidelines mandate coverage of contraceptive methods and counseling. By

allowing virtually any employer to avoid this mandate, the final Rules are contrary to law.

       The final Rules also violate other ACA provisions. For example, the ACA bars the

Secretary of HHS from promulgating any regulation that “creates any unreasonable barriers to

the ability of individuals to obtain appropriate medical care,” “impedes timely access to health

care services,” or “limits the availability of health care treatment for the full duration of a

patient’s medical needs.” 42 U.S.C. § 18114(1), (2), (6).22 Here, the final Rules create a

formidable barrier by preventing women who receive health insurance through their employers

from receiving essential preventive healthcare based on that employer’s religious or moral

beliefs. Defendants’ argument to the contrary, 83 Fed. Reg. at 57,552, is nonsensical. Congress

mandated that health plans provide women with coverage for preventive services without cost-

sharing. 42 U.S.C. § 300gg-13(a)(4). Defendants admit that the final Rules will cause some

women to lose coverage for preventative care under their employer-sponsored insurance. 83 Fed.

Reg. at 57,575–57,582. Under the plain language of the ACA, HHS has “create[d] . . .

unreasonable barriers to the ability of individuals to obtain appropriate medical care,”

“impede[d] timely access to health care services,” and “limit[ed] the availability of health care

treatment for the full duration of a patient’s medical needs.” §§ 18114(1), 18114(2), 18114(6).




       22
           “Notwithstanding any other provision of this Act, the Secretary of Health and Human
Services shall not promulgate any regulation that—(1) creates any unreasonable barriers to the
ability of individuals to obtain appropriate medical care; (2) impedes timely access to health care
services; (3) interferes with communications regarding a full range of treatment options between
the patient and the provider; (4) restricts the ability of health care providers to provide full
disclosure of all relevant information to patients making health care decisions; (5) violates the
principles of informed consent and the ethical standards of health care professionals; or (6) limits
the availability of health care treatment for the full duration of a patient’s medical needs.” 42
U.S.C. § 18114.

                                                  22
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 30 of 53



       The final Rules also violate the ACA’s nondiscrimination provision, which protects an

individual from being “excluded from participation in,” “denied the benefits of,” or “subjected to

discrimination” on the basis of sex under “any health program or activity” receiving federal

funds. 42 U.S.C. § 18116.23 The final Rules selectively authorize denial of coverage for women’s

preventive care benefits only. Indeed, the Equal Employment Opportunity Commission (EEOC)

has previously held that offering coverage for preventive prescription drugs and services but not

for contraception constitutes discrimination based on sex. See Commission Decision on

Coverage of Contraception, EEOC, 2000 WL 33407187 (Dec. 14, 2000).24

       In sum, the final Rules violate multiple provisions of the ACA. As a result, they are “not

in accordance with law.” See 5 U.S.C. § 706(2)(A).

                 2. Defendants’ Reliance on RFRA is Arbitrary, Capricious, and Contrary to
                    Law.

       Not only are the final Rules contrary to the ACA, the final Religious Exemption Rule is

“arbitrary, capricious, and contrary to established law” because it misapplies RFRA.25 5 U.S.C.

§ 706(2)(A). First, the Defendants provide no rationale for their new position that the

accommodation imposes a substantial burden on the exercise of religion—the threshold

requirement to implicate RFRA. “[W]here the agency has failed to provide even that minimal

level of analysis, its action is arbitrary and capricious and so cannot carry the force of law.”


       23
            “Except as otherwise provided for in this title (or an amendment made by this title), an
individual shall not, on the ground prohibited under . . . title IX of the Education Amendments of
1972, . . . be excluded from participation in, be denied the benefits of, or be subjected to
discrimination under, any health program or activity, any part of which is receiving Federal
financial assistance, including credits, subsidies, or contracts of insurance, or under any program
or activity that is administered by an Executive Agency or any entity established under this title
(or amendments).” 42 U.S.C. § 18116.
       24
            http://www.eeoc.gov/policy/docs/decision-contraception.html.
       25
            Defendants do not claim that the final Moral Exemption Rule is justified by RFRA.

                                                 23
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 31 of 53



Navarro, 136 S. Ct. at 2125. Second, the Defendants have not “show[n] that there are good

reasons” for departing from their established position that the Contraceptive Mandate furthers a

compelling government interest. See id. at 2125–26 (quoting Fox Television Stations, 556 U.S. at

515). An “unexplained inconsistency in agency policy” is a reason to hold an agency regulation

“to be an arbitrary and capricious change from agency practice.” Id. at 2126 (cleaned up). And

finally, the Defendants have not explained how RFRA allows them to protect sincerely held

religious beliefs at the expense of women’s access to federally mandated preventive services.

       Contrary to pervasive characterizations by the Defendants and the Little Sisters, RFRA

does not provide federal agencies with unfettered discretion to contravene federal law. Instead,

RFRA applies when the Government would “substantially burden a person’s exercise of

religion.” 42 U.S.C. § 2000bb-1(a). “[W]hether a burden is ‘substantial’ under RFRA is a

question of law, not a question of fact.” Real Alternatives, Inc. v. Sec’y Dep’t of Health &

Human Servs., 867 F.3d 338, 356 (3d Cir. 2017) (cleaned up). A burden is not substantial simply

because the claimant says it is; instead, courts must objectively evaluate both the “nature of the

claimed burden and the substantiality of that burden on the claimant’s religious exercise.” Id.

(cleaned up). Even if the burden is substantial, RFRA still does not automatically allow a federal

agency to contravene federal law. Instead, RFRA only blocks laws that do not further “a

compelling government interest” in the “least restrictive” way possible. 42 USC § 2000bb-1(b).

       Defendants rely heavily on RFRA to justify the final Religious Exemption Rule—but

their explanations do not withstand scrutiny. First, the Defendants conclude that the

accommodation substantially burdens religious exercise. 83 Fed. Reg. at 57,546 (affirming

conclusion first set forth in the Religious Exemption IFR); see 82 Fed. Reg. at 47,800. This

conclusion is undisputedly a change in position. See, e.g., 2017 FAQs at 4–5 (concluding that the



                                                24
         Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 32 of 53



accommodation does not substantially burden religious exercise); 78 Fed. Reg. at 39,886–88

(same). But the Defendants “offer[] barely any explanation” to support this new position. See

Navarro, 136 S. Ct. at 2126. In Navarro, the Supreme Court struck down an agency’s new

interpretation of the Fair Labor Standards Act because the agency “said almost nothing” about

why it had changed position and failed to explain why the chosen policy was more consistent

with the applicable statutory provisions. Id. at 2127. Here, the Defendants make the same fatal

error.

         Defendants note that in the Religious Exemption IFR, they “revisited [their] earlier

conclusions and reached a different view,” which they “now reaffirm.” 83 Fed. Reg. at 57,546.

But the sole explanation offered in both the IFR and the final rule is the bald assertion that “the

Court’s analysis in Hobby Lobby extends” to the accommodation “either by compelling an act

inconsistent with that observance or practice, or by substantially pressuring the adherents to

modify such observance or practice.” Id. As in Navarro, this paragraph fails to explain why the

agencies believe the accommodation—which causes the eligible organization to play “no role

whatsoever” in the provision of federally mandated contraception services, Geneva Coll. v. Sec’y

U.S. Dep’t of Health & Human Servs., 778 F.3d 422, 438 (3d Cir. 2015), vacated on other

grounds, Zubik, 136 S. Ct. at 1560—poses a substantial burden. Cf. id. at 435–44 (detailing the

many reasons why the burden is not substantial). Indeed, the agencies’ purported explanation

actually runs contrary to the holding of Hobby Lobby, which found that the accommodation did

not substantially burden the religious practice of closely held for-profit entities such as Hobby

Lobby. 134 S. Ct. at 2782–83.

         Defendants claim their new conclusion is “particularly reasonable given the existing legal

uncertainty as to whether the accommodation itself violates RFRA.” 83 Fed. Reg. at 57,554. But



                                                 25
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 33 of 53



Defendants ignore the overwhelming majority of federal appeals courts, which have held that the

accommodation does not impose a substantial burden and therefore does not violate RFRA.26 As

this Court recognized previously, the Third Circuit has held that the accommodation did not

substantially burden religious exercise. PI Op., 281 F. Supp. 3d at 580 (citing Geneva Coll., 778

F.3d at 442). Although vacated by Zubik, 136 S. Ct. at 1560, the Supreme Court expressed no

view on the merits of the Third Circuit’s holding, which that court has subsequently reaffirmed.

Real Alternatives, 867 F.3d at 356 (“[W]e continue to believe . . . that the regulation at issue [in

Geneva College] did not impose a substantial burden.”).

       Second, even if the Defendants are correct that the accommodation imposed a substantial

burden, they failed to provide “good reasons” for departing from their longstanding position that

the Contraceptive Mandate serves a compelling government interest. See Fox Television

Stations, 556 U.S. at 515. To be sure, unlike their discussion of the substantial burden, the

Defendants do present an explanation, 83 Fed. Reg. at 57,546–48—but it is not “reasoned” and

therefore cannot support the final Religious Exemption Rule.



       26
          Catholic Health Care Sys. v. Burwell, 796 F.3d 207, 220 (2d Cir. 2015) (holding that
the accommodation did not impose a substantial burden); Geneva Coll., 778 F.3d at 442 (same);
E. Texas Baptist Univ. v. Burwell, 793 F.3d 449, 463 (5th Cir. 2015) (same); Michigan Catholic
Conference & Catholic Family Servs. v. Burwell, 755 F.3d 372, 390 (6th Cir. 2014) (same);
Univ. of Notre Dame v. Burwell, 786 F.3d 606, 618 (7th Cir. 2015) (same); Little Sisters of the
Poor Home for the Aged, Denver, Colo. v. Burwell, 794 F.3d 1151, 1173 (10th Cir. 2015)
(same); Eternal Word Television Network, Inc. v. Sec’y of U.S. Dep’t of Health & Human Servs.,
818 F.3d 1122, 1151 (11th Cir. 2016) (same); Priests For Life v. U.S. Dep’t of Health & Human
Servs., 772 F.3d 229, 249 (D.C. Cir. 2014) (same); but see Sharpe Holdings, Inc. v. U.S. Dep’t of
Health & Human Servs., 801 F.3d 927, 943 (8th Cir. 2015) (holding that the accommodation
substantially burdens religious beliefs).
       Although all were vacated by (or in light of) Zubik, the Supreme Court’s per curiam
opinion expressed no view on the merits of the appellate courts’ holdings. 136 S. Ct. at 1560.
      The Religious Exemption IFR did acknowledge that the rule contradicted the near-
unanimous conclusion of the federal appellate courts. 82 Fed. Reg. at 47,792.

                                                 26
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 34 of 53



       For one, the agencies’ about-face is foreclosed by the Supreme Court: five Justices have

recognized that the government interest in guaranteeing cost-free access to contraception is

compelling within the meaning of RFRA. Hobby Lobby, 134 S. Ct. at 2785–85 (Kennedy, J.,

concurring) (stating that HHS “makes the case that the mandate serves the Government’s

compelling interest in providing insurance coverage that is necessary to protect the health

of female employees, coverage that is significantly more costly than for a male employee”); id.

at 2799 (Ginsburg, J., dissenting) (stating, in a dissent joined by three Justices, that “the

contraceptive coverage for which the ACA provides furthers compelling interests in public

health and women’s well being”).

       In addition, the Departments’ purported “good reasons” are specious. That HRSA has

discretion to prepare the Guidelines, 83 Fed. Reg. at 57,546–47, does not explain why the

Government’s interest in the Contraceptive Mandate is not compelling. Nor does the fact that

Congress excluded some employers from the Mandate, id. at 57,547, make it any less important

that the Government ensure that all covered women receive access to the full complement of

preventive care. That the IOM found that some women are most at risk for unintended

pregnancy, id. at 57,547–48, does not explain why women who work for employers with

religious or moral objections are less likely to fall into this high-risk category, nor does it

correlate with the ACA’s mandate that preventive services be provided to all women. Nor does

the ability of some women to get contraceptive services and counseling from other sources

justify the change. Id. at 57,548. State laws mandating contraceptive coverage are neither as

uniform nor as comprehensive as the Mandate, Kost. Decl. (Exh. K) ¶ 53, and ERISA bars states

from regulating a significant portion of employers, 29 U.S.C. § 1144(a); Compl. ¶ 140.

Moreover, the Defendants mischaracterize the impact the ACA has had on women’s use of



                                                  27
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 35 of 53



contraceptive methods. Kost Decl. (Exh. K) ¶¶ 31–36 (showing how study cited by Defendants

actually showed positive trends). Lastly, the discussion of seamlessness is a red herring, id.; the

ACA mandates that covered health care plans “shall” provide preventive services to their female

insureds without cost-sharing, 42 U.S.C. § 300gg-13(a)(4).

       Finally, the Defendants fail to adequately explain, 83 Fed. Reg. at 57,544–46, how RFRA

gives them broad discretion to protect sincerely held religious beliefs by categorically denying

women access to the essential preventive healthcare mandated by Congress. The Supreme Court

has recognized that RFRA does not permit Defendants to favor religious objectors at the expense

of women’s healthcare. In Zubik, the Court remanded the cases so that the parties could “arrive at

an approach going forward that accommodates petitioners’ religious exercise while at the same

time ensuring that women covered by petitioners’ health plans receive full and equal health

coverage, including contraceptive coverage.” 136 S. Ct. at 1560 (cleaned up) (emphasis

added).27 Defendants have failed to comply with the second part of the Court’s instruction: by

design, the broad religious and moral exemptions fail to ensure that women who work for

objecting entities will receive “full and equal health coverage, including contraceptive

coverage.” Id. What is more, the final Rules, like the IFRs before them, offer no evidence that

they even tried.



       27
          As this Court has already recognized, the only authority cited by Defendants—Ricci v.
DeStefano, 557 U.S. 586, 585 (2009)—has never been held to apply to RFRA. Tr. (Exh. J)
47:16–50:17. But even if Ricci’s “strong-basis-in-evidence” standard applied to RFRA,
Defendants have not met this high burden. They point only to “legal uncertainty” about the
accommodation—in direct contradiction to the majority of federal appellate courts, supra n.26,
and the Supreme Court, Hobby Lobby, 134 S. Ct. at 2782–83. Moreover, the strong-basis-in-
evidence standard applies only to the strict binary circumstance present in Ricci, where the City
could either certify exam results (that could have violated Title VII’s disparate-impact provision)
or not certify exam results (and instead violate Title VII’s disparate-treatment provision). Ricci,
557 U.S. at 578–79. No such binary circumstance exists here.

                                                 28
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 36 of 53



       That the prior administration was unable to identify a “feasible approach . . . that would

resolve the concerns of religious objectors, while still ensuring that the affected women receive

full and equal health coverage, including contraceptive coverage,” is not the fatal concession

Defendants treat it to be. E.g., 83 Fed. Reg. at 57,544 & n.15 (quoting 2017 FAQs at 4). To the

contrary, RFRA is not automatically violated whenever anyone raises a religious objection to

federal law. As this Court has repeatedly recognized, the existence of a sincere or reasonable

religious objection does not per se mean that the burden is substantial. E.g., Real Alternatives,

867 F.3d at 356; see 2017 FAQs at 4–5 (identifying no substantial burden). And even if the

burden is substantial, the Government policy can be enforced as long as it is the least restrictive

means to further a compelling government interest. § 2000bb-1(b). The prior administration’s

inability, after 54,000 comments, to find an alternative to the accommodation that both

“accommodates petitioners’ religious exercise while at the same time ensuring that women

covered by petitioners’ health plans receive full and equal health coverage, including

contraceptive coverage,” Zubik, 136 S. Ct. at 1560, demonstrates that the accommodation is the

least restrictive means.

       In sum, the Defendants fail to provide adequate explanations for their reliance on RFRA,

resulting in a rule that is arbitrary and capricious and therefore “cannot carry the force of law.”

Navarro, 136 S. Ct. at 2127. For this reason alone, the final Religion Exemption Rule must be

enjoined.

               3. Defendants Provide Arbitrary and Capricious Explanations for the Final
                  Rules.

       In addition to violating the ACA and improperly relying on RFRA, Defendants fail to

provide explanations for the final Rules that satisfy the APA’s requirements. 5 U.S.C.

§ 706(2)(A). Defendants shift their longstanding position on the importance of women having


                                                 29
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 37 of 53



no-cost access to contraception, even where employers may have religious objections. They

completely disregard the overwhelming scientific and medical evidence establishing the efficacy,

safety, and benefits of contraception—evidence they previously accepted and incorporated into

their policies and regulations. And they fail to reasonably account for the number of women who

will be affected by the final Rules. As a result, the final Rules are arbitrary and capricious. Id.

                      i.   Defendants’ Reversal of Position on the Importance, Efficacy, and
                           Benefits of Contraception is Arbitrary and Capricious.

       Defendants fail to explain their dramatic reversal on the importance, efficacy, and

benefits of contraception. As with their position on RFRA, this abrupt about-face violates the

APA because Defendants fail to provide the “more detailed justification” necessary when

reversing a position that rested on evidence-based factual findings or engendered serious reliance

interests. Fox Television Stations, 556 U.S. at 515. Simply demonstrating awareness of their

change in policy is insufficient if the agencies provide an insufficiently reasoned explanation for

“why [they] deemed it necessary to overrule [their] previous position.” Navarro, 136 S. Ct. at

2126. As a result, the final Rules are arbitrary, capricious, and “cannot carry the force of law.”

Id. at 2127.

       Since the passage of the ACA and the adoption of the Guidelines, Defendants repeatedly

reaffirmed the importance of providing women access to contraceptive services without cost-

sharing.28 This position came not from Defendants’ whims, but from the evidence-based


       28
           E.g., 76 Fed. Reg. at 46,623 (recognizing the need to extend “any coverage of
contraceptive services under the HRSA Guidelines to as many women as possible”); 77 Fed.
Reg. at 8727–28 (discussing the many benefits of contraception for women and the problems
with a broader exemption); Certain Preventive Services Under the Affordable Care Act, 77 Fed.
Reg. 16,501, 16,503 (Mar. 21, 2012) (requesting comment on how to “provide women access to
the important preventive services at issue without cost sharing while accommodating religious
liberty interests”); Coverage of Certain Preventive Services Under the Affordable Care Act, 78
Fed. Reg. 8456, 8459 (Feb. 6, 2013) (same); Coverage of Certain Preventive Services Under the
Affordable Care Act, 78 Fed. Reg. 39,870, 39,872–73 (July 2, 2013) (discussing many benefits
                                                  30
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 38 of 53



scientific and medical conclusions in the IOM Report, prepared by a 16-member panel of experts

in preventive care, disease prevention, women’s health issues, and other areas. Weisman

Decl. (Exh. M) ¶¶ 14–42; IOM Report (Exh. F) at 102–10. The IOM Report specifically

demonstrated—using a systematic review of voluminous evidence, studies, and expert

opinions—that no-cost access to the full range of FDA-approve contraceptive methods, as well

as education and counselling about contraception, is essential for alleviating adverse impacts

unintended pregnancy may have on mothers and their children. Weisman Decl. (Exh. M) ¶¶ 14–

42; IOM Report (Exh. F) at 102–10. The HRSA adopted these methods and findings in issuing

its guidelines, 2011 Guidelines (Exh. G), and contraception remains a form of preventive care to

this day, 2016 Guidelines (Exh. H).

       Even as the Defendants made subsequent adjustments to the Contraceptive Mandate to

respect sincerely held religious beliefs, Defendants never lost sight of the core aim: ensuring that

women receive access to essential contraceptive methods and services.29 The Supreme Court

even affirmed this balance, requiring the parties on remand to “ensur[e] that women covered by

petitioners’ health plans receive full and equal health coverage, including contraceptive

coverage.” Zubik, 136 S. Ct. at 1560 (cleaned up). Defendants’ position was supported by the

medical community, which has continued to reaffirm the benefits of contraception and the need



of contraception for women); 2017 FAQs at 5 (stating that the government has a “compelling
interest in ensuring that women receive full and equal health coverage, including contraceptive
coverage”).
       29
          E.g., 76 Fed. Reg. at 46,624 (“The definition set forth here is intended to reasonably
balance the extension of any coverage of contraceptive services under the HRSA Guidelines to
as many women as possible, while respecting the unique relationship between certain religious
employers and their employees in certain religious positions.”); 77 Fed. Reg. at 8727 (stating that
the Departments sought to meet two goals: “providing contraceptive coverage without cost-
sharing to individuals who want it” and accommodating religious objections); 77 Fed. Reg. at
16,503 (same); 78 Fed. Reg. at 39,872 (same).

                                                 31
          Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 39 of 53



to eliminate the cost barrier. Weisman Decl. (Exh. M) ¶¶ 46–51; Chuang Decl. (Exh. L) ¶¶ 26–

39; Kost Decl. (Exh. K) ¶¶ 24–36. In fact, several studies conducted after the Women’s Health

Amendment was implemented have shown that women are paying less for contraception and

using more effective contraception as a result of mandated contraceptive coverage. Weisman

Decl. (Exh. M) ¶¶ 48–49; Chuang Decl. (Exh. L) ¶¶ 26–32; Kost Decl. (Exh. K) ¶¶ 31–36;

Ashley H. Snyder, et al., The Impact of the Affordable Care Act on Contraceptive Use and Costs

among Privately Insured Women, 28-3 Women’s Health Issues 219–223 (2018) (Exh. N).

          Yet in the IFRs and the final Rules, Defendants make a dramatic reversal: women’s

access to contraceptive methods and counseling is now subordinate to the religious and moral

objections of employers, and contraception might not be beneficial or effective anyway. This

position is both contrary to prior factual findings and in spite of the significant reliance interests

of women who have benefited from the Mandate. In the absence of a “more detailed

justification,” Defendants change in position violates the APA. Fox Television Stations, 556 U.S.

at 515.

          In the Final Rules, Defendants provide no new facts and no meaningful discussion to

undercut their prior factual findings establishing the beneficial and essential nature of

contraception as preventive healthcare for women. See 83 Fed. Reg. at 57,552–56 (discussing, in

the final Religious Exemption Rule, the “Health Effects of Contraception and Pregnancy” and

the “Health and Equality Effects of Contraceptive Coverage Mandates”). Instead, Defendants:

(1) reproduce without analysis some public comments that question the efficacy, safety, and

importance of contraception; (2) decline to “take a position on the variety of empirical issues

discussed above,” id. at 57,555; accord id. at 57,556 (“Without taking a definitive position on

those evidentiary issues . . . .”); then (3) summarily conclude that “significantly more uncertainty



                                                  32
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 40 of 53



and ambiguity exists on these issues than the Departments previously acknowledged when [they]

declined to extend the exemption to certain objecting organizations and individuals,” id. at

57,555, and that the final Rules “are not likely to have negative effects on the health or equality

of women nationwide,” id. at 57,556. This is arbitrary and capricious for multiple reasons.

       First, basing a major policy shift on an apparently newly discovered and poorly defined

“ambiguity”—rather than a careful, rational evaluation of changes in fact or circumstance—is

the very embodiment of arbitrary and capricious decision-making. See Fox Television Stations,

Inc., 556 U.S. at 515 (holding that an agency must provide “a more detailed justification” for

certain policy changes when “its new policy rests upon factual findings that contradict those

which underlay its prior policy”). Prometheus Radio Project, 652 F.3d at 469 (stating that an

agency must “examine the relevant data and articulate a satisfactory explanation for its action,

including a rational connection between the facts found and the choice made” (quoting State

Farm, 463 U.S. at 43)).

       Second, basing a major policy reversal on a fabricated debate is likewise the epitome of

arbitrary and capricious rulemaking. State Farm, 463 U.S. at 43 (holding that an agency decision

was arbitrary and capricious when it “offered an explanation for its decision that runs counter to

the evidence before the agency, or is so implausible that it could not be ascribed to a difference

in view or the product of agency expertise”). There is no debate over the efficacy or benefits of

contraception. Kost Decl. (Exh. K) ¶ 43; Chuang Decl. (Exh. L) ¶¶ 40–49; Weisman Decl. (Exh.

M) ¶¶ 52–54. To the contrary: it is Defendants themselves who “provide[] the oversight to

ensure that the health benefits of contraception outweigh any potential negative consequences.”

Kost Decl. (Exh. K) ¶ 43. All mandated contraceptive methods must be approved by the FDA—a

component of Defendant HHS. Id. Multiple expert bodies, including the FDA, the CDC, and the



                                                 33
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 41 of 53



American College of Obstetricians and Gynecologists, “concur that contraception is safe and has

clear health benefits that outweigh any potential risk.” Id.

       Third, the Defendants’ failure to rebut the specious assertions of certain commentators

with basic science further underscores the arbitrary and capricious nature of the final Rules. For

example, the Final Rules discussed comments criticizing the IOM Report for citing studies

asserting an “associative” rather than “causal” relationship between contraceptive use and

decreases in unintended pregnancy. 83 Fed. Reg. at 57,553. Not only are associative relationship

studies well-accepted—demonstrating that “smoking causes lung cancer, HIV causes AIDS, and

Pap smears reduce cervical cancer”—but establishing a “causal” relationship between

contraception and unintended pregnancy would require an unethical and impractical scenario.

Chuang Decl. (Exh. L) ¶ 45. The final Rules also credit comments suggesting hormonal

contraceptives may increase risk of venous thrombembolic disease (VTA), 83 Fed. Reg. at

57,552, when in fact pregnancy and the postpartum state—which would result from unintended

pregnancies—increase VTE significantly more than hormonal contraceptives, Chuang Decl.

(Exh. L) ¶ 47. The Final Rules also point to commenters who express concern over possible

increased risk of certain cancers, 83 Fed. Reg. at 57,553, but the magnitude of the strong

evidence that hormonal contraception reduces the risk of ovarian and uterine cancer, and some

evidence that it reduces the risk of colorectal cancer, greatly outweighs any potential increased

risk of breast cancer, Chuang Decl. (Exh. L) ¶ 48.

       Instead of making reasoned findings based on substantive analysis of any new evidence

or a change of circumstance, Defendants expressly base their revocation of women’s access to

contraception on factors entirely unrelated to already-settled matters of science, medicine, and

the well-being of women: the notion “that some people have sincere religious [or moral]



                                                 34
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 42 of 53



objection to providing contraception coverage.” 83 Fed. Reg. at 57,554. “[I]n this context,”

Defendants “believe” they “have sufficient rationale to offer expanded religious exemptions with

respect to [the Contraceptive] Mandate.” Id. But Defendant’s belief does not make it so.

Religious or moral objections are no substitute for the rational, detailed explanation the APA

requires to justify Defendants’ complete change of course, and such objections certainly do not

provide the required connection between the Final Rules and a factual basis for disregarding the

established evidentiary underpinning of their prior policy and regulations. Fox Television

Stations, 556 U.S. at 515; Bowman, 419 U.S. at 285; Jicarilla Apache Nation 613 F.3d at 1112,

1119.

        In sum, the Defendants fail to articulate a legitimate basis or adequate explanation for

their dramatic reversal on the importance, efficacy, and benefits of contraception. As such, the

Finals Rules are arbitrary and capricious and therefore invalid. 5 U.S.C. § 706(2)(A).

                     ii.   Defendants’ Explanation of Affected Women is Arbitrary and
                           Capricious.

        Finally, in estimating the number of women who will be affected by the final Rules, the

Defendants fail to articulate “a rational connection between the facts found and the choice

made.’” Prometheus Radio Project, 652 F.3d at 469 (quoting State Farm, 463 U.S. at 43).

Although the RIA is abound with unsupported assumptions and omissions, see infra Part II.C,

two in particular illustrate the insufficiency of the Defendants’ purported explanation.

        The first lies in the RIA itself. Defendants estimate that at least 70,515 and at most

126,400 women will lose contraceptive coverage when their employers take advantage of the




                                                 35
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 43 of 53



religious and moral exemptions.30 83 Fed. Reg. at 57,578; id. at 57,582; id. at 57,627. The first

number estimates the number of women currently working for employers who litigated against

the Mandate or who took advantage of the accommodation. The second number estimates the

number of women currently working for employers who did not provide contraceptive coverage

prior to the ACA. But both estimates neglect to include an estimate of the impact caused by

extending the exemption to individuals—who, regardless of the policy holder’s gender, will deny

coverage for contraceptive services to all of his or her female dependents. Mendelsohn Decl.

(Exh. P) ¶ 17.

       The second lies in how the Defendants estimate the number of women working for

accommodated employers. In the Religious Exemption IFR, the Defendants assumed that 209

entities were currently using the accommodation. 82 Fed. Reg. at 47,818. To determine how

many employees worked for these accommodated entities, it began with a single hard number:

the “576,000 plan participants and beneficiaries [who] were covered by self-insured plans that

received contraceptive user fee adjustments in 201[5].31“ Id. at 47,820. Defendants then

multiplied by the ratio of self-insured to fully-insured plans (to account for employees working

for fully insured plans that claimed the accommodation) to arrive at a total of 1,027,000

employees and beneficiaries working for 209 accommodated entities. Id.

       In the final Religious Exemption Rule, the Defendants begin instead with the number of

plan participants and beneficiaries in 2017—but the number has suddenly more than tripled. That



       30
           Although the RIA requires the Defendants to calculate the annual financial impact of
the final Rules, these figures have also been used to support Defendants’ narrative that the Rules
will not impact too many women in the States.
       31
          Although the Defendants wrote “2014” here, the Defendants had early stated that “[i]n
2014, 612,000 persons were covered by plans claiming contraceptive user fees adjustments, and
in 2015, 576,000 persons were covered by such plans.” 82 Fed. Reg. at 47,820.

                                                36
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 44 of 53



year, say the Defendants, some “1,823,000 plan participants and beneficiaries” were covered by

self-insured plans that received contraceptive user fee adjustments. 83 Fed. Reg. at 57,576.

Accounting for employees working for fully-insured plans,32 the Defendants arrived at

“2,907,000 persons of all ages and sexes whom the Departments estimate were covered in plans

using the accommodation.” Id. Yet the Defendants continued to use an estimate of 209

accommodated entities—as if these entities suddenly hired more than times the staff in just two

years. Moreover, assuming that each policyholder has one dependent—as Defendants do, id. at

57,576—this means that each accommodated entity employs approximately 7,000 employees.

This is not reasonable.

       These two examples of faulty reasoning more than demonstrate that the Defendants’

analysis is arbitrary and capricious, in violation of the APA. 5 U.S.C. § 706(2)(A).

                                         *       *      *

       In the APA, Congress laid out strict procedural requirements that every agency must

follow when it promulgates new regulations with the binding power of law. 5 U.S.C.

§ 706(2)(D). Congress also provided that agency action that is arbitrary, capricious, contrary to

law, and in excess of statutory authority is unlawful and must be set aside. 5 U.S.C. § 706(2)(A),




       32
         The ratio of fully insured to self-insured plans appears to change dramatically from
2014 to 2015. Compare 82 Fed. Reg. at 47,820 & n.81 (stating that “DOL estimates that, among
persons covered by employer sponsored insurance, 56.1 percent are covered by self-insured
plans and 43.9 percent are covered by fully insured plans,” and citing data from 2014), with 83
Fed. Reg. at 57,577 & n.90 (stating that “DOL estimates that, among persons covered by
employer-sponsored insurance in the private sector, 62.7 percent are covered by self-insured
plans and 37.3 percent are covered by fully insured plans,” and citing data from 2015).
        Instead, the Defendants erred in the IFR. The ratio there incorporated both private and
public sector employers, even though public sector employers were ineligible for the IFR
exemptions. In the final rules, Defendants use the ratio applicable to the private sector alone.

                                                37
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 45 of 53



(C). The final Rules fail on both accounts. As such, the States are likely to succeed on the merits

of their claims.

 II.   The States Will Suffer Irreparable Harm in the Absence of an Injunction.

       This Court previously concluded that Pennsylvania would suffer irreparable injury if the

IFRs were not enjoined. PI Op., 281 F. Supp. 3d at 581–84. Specifically, it found that

Pennsylvania would suffer fiscal harm as women denied contraception would turn to

Commonwealth-funded programs, and that it would also suffer injury to its interest in protecting

the health and well-being of its residents. Id.

       That conclusion holds with even more force today. Last year, the Court found that the

harm from the IFRs was “not merely speculative; it is actual and imminent,” and noted that

Defendants own estimates found “that at least 31,700 women will lose contraceptive coverage”

as a result of the IFRs. Id. at 582 (emphasis original). Defendants concede that the estimate was

way off the mark: now, they say, at least 70,500 women will lose coverage. 83 Fed. Reg. at

57,578.33 But no matter, Defendants say: even if tens of thousands of women are deprived of a

legally protected right to necessary medicine, they amount to “less than 0.1%” of the women in

the United States. Id. at 57,551 n.16. And even these women have no reason to complain,

because they are not really being burdened—and if they are, it is certainly not the fault of the

government. Rather, “the government has simply restored a zone of freedom where it once

existed.” Id. at 57,549. As “third parties,” the women who may find their own freedom curtailed

as a result of the Rules simply do not understand what has been done:



       33
           In its previous motion, Pennsylvania noted that these estimates were “based on thin
evidence, at best, and rest on a series of questionable assumptions” and that, based on the process
that led to the IFRs, it was “unsurprising that Defendants were unable to quantify, with any
degree of accuracy, the number of women who will be harmed.” PI Mot. at 40 n.25

                                                  38
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 46 of 53



       If some third parties do not receive contraceptive coverage from private parties who
       the government chose not to coerce, that result exists in the absence of
       governmental action—it is not a result the government has imposed. Calling that
       result a governmental burden rests on an incorrect presumption: that the
       government has an obligation to force private parties to benefit those third parties
       and that the third parties have a right to those benefits.

Id. at 57,549; see also id. at 57,606 (identical language).

       Fortunately this Court rejected similarly specious arguments last year and found that the

government does, in fact, have an obligation to require plan sponsors to provide women those

preventive services identified by HRSA. And the Court further found that the harm suffered by

women who are denied coverage is very real, and extends beyond the women themselves—to

include the taxpayers who end up bearing the costs when employers are able to free themselves

of the obligation to provide required coverage. These findings were correct.

       A. Women in Pennsylvania and New Jersey Will Lose Contraceptive Coverage as a
          Result of the Rules

       Women in the States will lose access to contraceptive coverage as a result of the rules.

The Religious Exemption can be claimed by virtually anyone, and the limits on the Moral

Exemption are few. Nor are there any clear standards or certifications required to claim either.

And since the Rules have rendered the accommodation process optional, entities that opt out of

the Contraceptive Care Mandate have no obligation to notify their insurer so that the insurer can

provide coverage directly.

       As a result, many women would be denied the ability to utilize the method of

contraception that is best for them. See Kost Decl. (Exh. K) at ¶¶ 37-39. Many would be forced

to pay significantly more for the same level of care. Id. ¶ 32 (noting that, before the ACA,

“contraceptives accounted for between 30–44% of out-of-pocket health care spending for

women”). Others would be forced to go without contraception entirely—and would be at greater

risk of unplanned pregnancy or other potentially dangerous medical conditions. Id. ¶¶ 37, 42.
                                                 39
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 47 of 53



These risks would fall most on lower-income women, women of color, and younger women. Id.

¶ 45.

        The previous injunction motion filed in this case discussed in detail Defendants’

estimates for the number of women who will be affected by the IFRs, and the States do not

repeat that discussion here. See PI Mot. (Exh. E) 40-42. But even under the numbers in the IFRs,

which they have acknowledged were flawed, Defendants concluded that at least 31,700 women

would lose coverage as a result of the IFRs. As discussed above, they now estimate that the

lower bound is 70,500. There can be no serious dispute that many of these women would be

citizens of the Plaintiff States. Even ignoring common sense, the evidence produced by

Defendants as part of the administrative record for the IFRs identifies numerous entities located

in Pennsylvania and New Jersey that Defendants themselves expect to take advantage of the

Rules. See Exhs. V & W (spreadsheets from administrative record listing entities that potentially

would utilize new exemptions); see also PI Mot. (Exh. E) 41–42 (discussing litigating entities in

Pennsylvania); Gennace Decl. (Exh. T) ¶¶ 15-17.

        Defendants’ estimates, however, represent only a fraction of the women who will be

harmed. Even if Defendants are correct about the number of employers claiming the exemptions,

the Defendants appear to assume that no new women will enter the workforce generally, that no

new women will be hired by the exempted employers specifically, and that no women will be

born and become dependents of current employees of exempted employers. Defendants’

estimates represent but a snapshot in time of the Rules’ impact, which will continue to expand.

        B. Women in Pennsylvania and New Jersey Will Be Forced to Rely on State-
           Funded Programs, Imposing Direct Costs on the States

        The Final Rules argue that “the availability of contraceptive coverage from other possible

sources—including . . . from other governmental programs for low-income women” undermines


                                                40
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 48 of 53



the argument for keeping the mandate in place. 83 Fed. Reg. at 57,548; see also 82 Fed. Reg. at

47,803 (“[T]here are multiple Federal, State, and local programs that provide free or subsidized

contraceptives for low-income women.”). So Defendants recognize that the Rules will shift costs

onto public programs, including programs funded by the States.

       In Pennsylvania, women denied contraceptive coverage by their employers can seek

similar coverage from a state-sponsored program. Women who are citizens of Pennsylvania with

incomes up to 138% of the federal poverty level ($16,642 for an individual and $33,948 for a

family of four) can enroll in Medicaid which, in Pennsylvania, is known as “Medical

Assistance.” See Allen Decl. (Exh. Q) ¶ 8. Those with incomes up to 215% of the poverty level

($25,929 for an individual and $52,890 for a family of four) can participate in the

Commonwealth’s Family Planning Services Program. Id. ¶ 9. Both programs provide

contraceptive care and rely on a combination of federal and Commonwealth funding.

       Similarly, New Jersey residents with incomes up to 138% of the federal poverty level,

and pregnant women with incomes up to 205% of the federal poverty level ($51,624 for a family

of four), can enroll in New Jersey’s Medicaid program, known as “NJ FamilyCare.” Adelman

Decl. (Exh. S) ¶¶ 9–11. Starting in 2019, New Jersey will be rolling out a family planning benefit

program called Plan First for individuals with incomes between 133% and 205% of the federal

poverty limit. Id. ¶ 12. Both NJ FamilyCare and Plan First provide contraceptive coverage,

including long-acting reversible contraception, and rely on a combination of state and federal

funding.

       In addition, women who lose contraceptive coverage can get some care from clinics

funded under the Title X grant program. In Pennsylvania, Title X grants are administered by four

non-profit organizations that provide funding to individual clinics across the Commonwealth.



                                                41
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 49 of 53



These Title X clinics provide services to all women who ask, and they charge on a sliding scale

based on income. They also help women who are eligible for Commonwealth-funded health care

(including Medical Assistance and Family Planning Services) enroll in these programs to offset

their own costs. As a result, only a small portion of the revenue for these clinics actually comes

from Title X funding. See Steinberg Decl. (Exh. R) ¶ 13.

       A full range of family planning services is also available in New Jersey through 47 Title

X Family Planning Clinics run by the New Jersey Family Planning League and its ten

subgrantees. Coulter Decl. (Exh. U), ¶¶ 4–5. These clinics receive funding from a variety of state

and federal sources, and they serve patients Medicaid patients as well as patients with private

insurance, and under a sliding fee scale, patients who self-pay. Id. ¶¶ 6, 8, 14. Under this sliding

fee scale, lower income women who do not have insurance coverage are eligible for free or

reduced-cost services contraceptive services. Id. ¶¶ 14, 23. Moreover, even when the women

who turn to the Family Planning Clinics as a result of losing coverage are required to pay for the

services they receive, the increased demand could still exceed the clinics’ capacity, resulting in a

need for a costly expansion of services in order for the State to continue to serve all women

seeking care. See id. ¶ 27.

       For low income women who lose access to contraception, government-funded care is

likely the only available option—unless they give up contraception entirely. Therefore, because

of the Rules, the Commonwealth’s cost to fund the Medical Assistance and Family Planning

Services, and New Jersey’s cost to fund NJ Family Care, Plan First, and the Family Planning

Clinics programs will increase. And women who lose access to contraceptive care will

experience unplanned pregnancies and/or significant health problems as a result. Among the

negative health outcomes for mothers and children associated with unintended pregnancy are



                                                 42
       Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 50 of 53



increased risk of maternal depression, increased risk of physical violence during pregnancy,

reduced likelihood of breastfeeding, poorer mental and physical health during childhood, and

lower rates of teenage educational attainment. Coulter Decl. (Exh. U) ¶¶ 31-32. Moreover, many

mothers experiencing unintended pregnancy will turn to these same state-funded sources of care

during and after pregnancy, imposing additional costs on the States. Coulter Decl. (Exh. U) ¶ 28;

see also Butts Decl. (Exh. O) ¶¶ 56-58 (confirming that the Rules will result in some women

facing unintended pregnancy and other adverse medical consequences); Steinberg Decl. (Exh. R)

¶ 30 (discussing study finding that 68% of unplanned births are paid for by public insurance

programs, compared to only 38% of planned births).

       All of these additional costs would not exist but for the Rules, and all are unrecoverable.

The APA does not permit suits against the federal government for money damages, so the States

will have no way of recovering the additional funds they will be forced to spend. See 5 U.S.C.

§ 702. And where a plaintiff “cannot recover damages from the defendant due to the defendant’s

sovereign immunity”—as is the case here—”any loss of income suffered by a plaintiff is

irreparable per se.” Feinerman v. Bernardi, 558 F. Supp. 2d 36, 51 (D.D.C. 2008) (citing Bowen

v. Massachusetts, 487 U.S. 879 (1988) and United States v. State of New York, 708 F.2d 92, 93–

94 (2d Cir.1983).

       C. The States Will Suffer Injury to Their Interest in Protecting the Health and
          Well-Being of Their Citizens

       In addition to direct pecuniary harm, the States will suffer injury to their parens patriae

interest in protecting their own citizens. The States have “quasi-sovereign” interests that include

“protecting the ‘health and well-being – both physical and economic – of its residents in

general.’” In re Oxycontin Antitrust Litig., 821 F. Supp. 2d 591, 601 (S.D.N.Y. 2011) (quoting

Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458 U.S. 607 (1982)); see also Snapp, 458 U.S. at


                                                43
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 51 of 53



607 (“[A] State has a quasi-sovereign interest in the health and well-being – both physical and

economic – of its residents in general.”). And “[i]t is unquestionable that a state, in its parens

patriae capacity, does qualify as ‘personally . . . suffer[ing] some actual or threatened injury.”

Maryland People’s Counsel v. F.E.R.C., 760 F.2d 318, 321 (D.C. Cir. 1985) (Scalia, J.) (quoting

Valley Forge Christian College v. Americans United for Separation of Church and State, Inc.,

454 U.S. 464, 472 (1982) (alteration in original). Not only is this harm irreparable, but it is also

unquantifiable and not subject to reparation in the form of money damages. An injunction is

required to address this state harm.

        The States’ interests are particularly relevant here, given its limited authority to regulate

many of the plans covered by the Rules. The federal government, through ERISA, has taken over

responsibility for regulating self-insured groups plans, which are used by the vast majority of

large employers. See 29 U.S.C. § 1144(a). Pennsylvania and New Jersey, like all other states,

“surrender[ed] certain sovereign prerogatives” when it joined the Union. Massachusetts v. EPA,

549 U.S. 497, 519 (2007). These prerogatives “are now lodged in the Federal Government,”

which, in this instance, has ordered the Defendants to enforce the provisions of the Women’s

Health Amendment to protect the interests of the States. See id. at 519 (“These sovereign

prerogatives are now lodged in the Federal Government, and Congress has ordered EPA to

protect Massachusetts [from certain environmental harms].”); see also Texas v. United States,

809 F.3d 134, 154 (5th Cir. 2015), affirmed by an evenly divided Court, 136 S. Ct. 2271 (2016)

(“Both these plaintiff states and Massachusetts now rely on the federal government to protect

their interests.”).




                                                  44
        Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 52 of 53



III.   The Public Interest and the Balance of Equities Weigh Strongly in Favor of an
       Injunction.

       Finally, the public interest and the balance of equities strongly favor issuing a preliminary

injunction. The Third Circuit has stated that “[i]f a plaintiff proves ‘both’ a likelihood of success

on the merits and irreparable injury, it ‘almost always will be the case’ that the public interest

favors preliminary relief.” Issa v. Sch. Dist. of Lancaster, 847 F.3d 121, 143 (3d Cir. 2017)

(citing Am. Tel. & Tel. Co. v. Winback & Conserve Program, Inc., 42 F.3d 1421, 1427 n.8 (3d

Cir. 1994)). According to the Third Circuit, then, analyzing whether an injunction favors the

public interest is “often fairly routine.” Id. (citing Kos Pharm., Inc. v. Andrx Corp., 369 F.3d

700, 730 (3d Cir. 2004)).

       So it is here. The public interest favors an injunction in this case because the lack of

contraceptive care will cause irreparable injury, in the form of medical harm to women who rely

on contraceptives for a wide range of medical reasons, increased unintended pregnancy, and

widespread disruption in medical care. The public interest further favors an injunction because

the Rules infringe on the sovereignty of the States, and because direct financial and other harm

will befall the States and that harm, too, is irreparable. Finally, the public interest favors an

injunction because the Rules are unconstitutional. See Council of Alternative Political Parties v.

Hooks, 121 F.3d 876, 883–84 (3d Cir. 1997) (“In the absence of legitimate, countervailing

concerns, the public interest clearly favors the protection of constitutional rights.”).

                                          CONCLUSION

       For the reasons set forth above, the States’ Motion for a Preliminary Injunction should be

granted.




                                                  45
      Case 2:17-cv-04540-WB Document 91-2 Filed 12/17/18 Page 53 of 53



December 17, 2018                       Respectfully submitted,

GURBIR S. GREWAL                        JOSH SHAPIRO
Attorney General                        Attorney General
State of New Jersey                     Commonwealth of Pennsylvania

GLENN J. MORAMARCO                       /s/ Michael J. Fischer
Assistant Attorney General              MICHAEL J. FISCHER
ELSEPTH FAIMAN HANS                     Chief Deputy Attorney General
KIMBERLY A. CAHALL                      AIMEE D. THOMSON
Deputy Attorneys General                Deputy Attorney General
New Jersey Attorney General’s Office    Office of Attorney General
Richard J. Hughes Justice Complex       1600 Arch Street
25 Market Street                        Suite 300
Trenton, NJ 08625                       Philadelphia, PA 19103
(609) 376-3235                          (215) 560-2171
Glenn.Moramarco@law.njoag.gov           mfischer@attorneygeneral.gov




                                       46
